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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.: 11-24091-CV-JAL

EXCLUSIVE MOTORING )
WORLDWIDE, INC., )
A Florida Corporation, )
)
Plaintiff, )
Vv. )
)
ALEX VEGA, )
An individual, )
)
)
Defendant. )
)
AFFIDAVIT OF ALEX VEGA
STATE OF FLORIDA

COUNTY OF MIAMI-DADE

ALEX VEGA deposes and says under oath as follows:

1. That I make this affidavit upon my personal knowledge.
2. That I am the Defendant in the above referenced action.
3. That on June 27, 2012 the Parties attended a settlement conference presided over by

Magistrate Judge William C. Turnoff.

4, That during the course of the settlement conference Plaintiff Rolando Ramirez
(“Ramirez”) threatened me and uttered “in due time”. I took Ramirez’ words as a threat of future
harm.

a That notwithstanding the Ramirez’ threat, the Parties resolved their disputes during the
settlement conference and entered into a negotiated settlement agreement (the “Settlement”) [DE

149-1].

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CASE NO.: 11-2409-CV-JAL
Affidavit of Alex Vega

6. That Paragraph 8 of the Settlement reads:
Non-Disparagement. The Parties covenant never to disparage or speak ill of any other
of the Parties, or their products, services, affiliates, subsidiaries, officers, directors,
employees or shareholders, and will take reasonable steps to prevent and will not
knowingly permit any of the Parties’ respective employees or agents to, disparage or
speak ill of such persons. The Parties shall refrain from encouraging any third parties to
commence investigations, lawsuits, or to otherwise assert any claims against any of the
Parties.
Es That on July 3, 2012 my client Luis Rafael Vargas (“Vargas”) told me that Ramirez and
EMW employee David Fonseca (“Fonseca”) disparaged me as more fully set out in Vargas’
affidavit.
8. That Paragraph 2.10 of the Settlement reads, in pertinent part, “....EMW shall have a
right to use any photographs depicting vehicles that were worked on by EMW at any time after
January, 2011.”
9. That on July 9, 2012 I discovered EMW utilizing photographs of automobiles I worked
on at Auto Couture and prior to January 2011. The photographs are attached hereto as composite
Exhibit “A”.
10. FURTHER AFFIANT SAYETH NAUGHT.
Verification by Declaration pursuant to F.S. §92.525

Under penalties of perjury, I declare that I have read the foregoing affidavit and that the

sam) Lf

Alex V ega

Date: T-(0-1L

facts stated therein are true.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.: 11-24091-CV-JAL

EXCLUSIVE MOTORING )
WORLDWIDE, INC., )
A Florida Corporation, )
)
Plaintiff, )
v. )
)
ALEX VEGA, )
An individual, )
)
Defendants. )
)
AFFIDAVIT OF LUIS RAFAEL VARGAS
STATE OF FLORIDA

COUNTY OF MIAMI-DADE

LUIS RAFAEL VARGAS deposes and says under oath as follows:

1. That I make this affidavit upon my personal knowledge.
2. That I have been a client of Alex Vega for over 7 years.
3. That in all my business dealings with Alex Vega, he has comported himself with absolute

honesty and integrity.

4. That on July 3, 2012 I went to Exclusive Motoring Worldwide, Inc.’s (“EMW”) offices
located at 1951 N.W. 97th Avenue, Doral, FL 33172 looking for Alex Vega.

5. That when I arrived at EMW Rolando Ramirez and David Fonseca greeted me.

6. That I told Rolando Ramirez and David Fonseca that I wanted Alex Vega to customize a
Jeep Wrangler Unlimited.

7. That at hearing that I wanted Alex Vega to perform the work, Rolando Ramirez told me

that Alex Vega is a thief that stole from him and that he got tired of it. Rolando Ramirez further

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Affidavit of LUIS RAFAEL VARGAS

told me that Alex Vega is a piece of shit that owed everyone money and was taking customers
deposits because he had nothing.

8. That Rolando Ramirez continued to tell me that I should not trust Alex Vega and that
Alex Vega’s cousin, David Fonseca, did not go with Alex Vega.

o. That Rolando Ramirez said that the fact that David Fonseca stayed with him goes to
show what a bad person Alex Vega is.

10. That David Fonseca then jumped into my conversation with Rolando Ramirez. He told
me even though he is Alex Vega’s cousin, he stayed with EMW. He told me that Alex Vega is a
liar and a piece of shit that lied to customers and told them he owned EMW. David Fonseca told
me that Alex never owned shit.

11. That David Fonseca and Rolando Ramirez then proceeded to show me pictures of a red

jeep and a white jeep that they said EMW was currently working on.

12. That the jeep pictures were on David Fonseca’s phone.

13. That I grew uncomfortable at David Fonseca’s and Rolando Ramirez’ hostility towards
Alex Vega.

14. That I excused myself for a moment and called a mutual friend of Alex Vega and myself.

15. That this mutual friend told me about the legal dispute between Alex Vega and Rolando
Ramirez. I then left EMW.

16. That I then went to Alex Vega’s shop and told Alex Vega about what happened at EMW.
17. That I shared the jeep pictures provided by David Fonseca with Alex Vega and he told
me that the pictures actually pertained to work done by his shop.

18. That Alex Vega told me that the white jeep was for baseball player Alfonso Soriano and
that the red jeep was currently being worked on for baseball player Vladamir Guerrero. Alex

Vega proceeded to show me pictures of the work he was doing for these baseball players.

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Affidavit of LUIS RAFAEL VARGAS

19. That Rolando Ramirez and David Fonseca lied to me and disparaged Alex Vega in an
effort to lure me to EMW. This was an upsetting situation that I did not appreciate

FURTHER AFFIANT SAYETH NAUGHT.
Verification by Declaration pursuant to F.S. §92.525

Under penalties of perjury, I declare that | have read the foregoing affidavit and that the facts

stated therein are true. LY ff
/
fr
Affiant: #
r

LUISRAFAEL VARGAS

Date: 7 lq liz,

